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     Sacramento, CA 95814
 3   916.438.7711 FAX 916.438.7721
 4   Attorney for Defendant
     GREGORY ROSS
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 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:10-CR-0211 FCD
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   TERRY ROBERSON, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jared Dolan, Assistant United States Attorney, attorney for plaintiff;
18   Douglas Beevers, attorney for defendant Terry Roberson; Bruce Locke, attorney for defendant
19   Cedric Roberson; Preeti Bajwa, attorney for defendant Aisha Stephens; Michael Bigelow,
20   attorney for defendant Anjenette Brown; Kirk McAllister, attorney for defendant John
21   Smithson; Michael Hansen, attorney for defendant Gregory Ross; Michael Chastaine, attorney
22   for defendant Kevin Wallace; and Kelly Babineau, attorney for defendant Waiki Pryor, that the
23   previously-scheduled status conference date of March 28, 2011, be vacated and the matter set
24   for status conference on April 25, 2011.
25          This continuance is requested to allow counsel additional time to review discovery with
26   the defendants, to examine possible defenses and to continue investigating the facts of the case.
27          Accordingly, all counsel and the defendant agree that time under the Speedy Trial Act
28   from the date this stipulation is lodged, through April 25, 2011, should be excluded in


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 1   computing time within which trial must commence under the Speedy Trial Act, pursuant to
 2   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 (reasonable time for defense
 3   counsel to prepare).
 4   Dated: March 25, 2010                             Respectfully submitted,
 5
                                                       /s/ Michael E. Hansen
 6                                                     MICHAEL E. HANSEN
                                                       Attorney for Defendant
 7                                                     GREGORY ROSS
 8   Dated: March 25, 2010                             /s/ Michael E. Hansen for
                                                       DOUGLAS BEEVERS
 9                                                     Attorney for Defendant
                                                       TERRY ROBERSON
10
     Dated: March 25, 2010                             /s/ Michael E. Hansen for
11                                                     BRUCE LOCKE
                                                       Attorney for Defendant
12                                                     CEDRIC ROBERSON
13   Dated: March 25, 2010                             /s/ Michael E. Hansen for
                                                       PREETI BAJWA
14                                                     Attorney for Defendant
                                                       AISHA STEPHENS
15
     Dated: March 25, 2010                             /s/ Michael E. Hansen for
16                                                     MICHAEL BIGELOW
                                                       Attorney for Defendant
17                                                     ANJENETTE BROWN
18   Dated: March 25, 2010                             /s/ Michael E. Hansen for
                                                       KIRK McALLISTER
19                                                     Attorney for Defendant
                                                       JOHN SMITHSON
20
     Dated: March 25, 2010                             /s/ Michael E. Hansen for
21                                                     MICHAEL CHASTAINE
                                                       Attorney for Defendant
22                                                     KEVIN WALLACE
23   Dated: March 25, 2010                             /s/ Michael E. Hansen for
                                                       KELLY BABINEAU
24                                                     Attorney for Defendant
                                                       WAIKI PRYOR
25
     Dated: March 25, 2010                             /s/ Michael E. Hansen for
26                                                     JARED DOLAN
                                                       Assistant U.S. Attorney
27                                                     Attorney for Plaintiff
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 1                                            ORDER
 2          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
 3   March 28, 2011, be vacated and the matter set for status conference on May 23, 2011. Time is
 4   excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
 5   Local Code T4.
 6   Dated: March 25, 2011
 7
                                           _______________________________________
 8                                         FRANK C. DAMRELL, JR.
                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order to Continue Status Conference
